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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                        )       CHAPTER 13
DENISE ELAINE MALCOLM                         )       CASE: A18-64324-JWC
                                              )
                                              )
                 DEBTOR                       )

           CHAPTER 13 TRUSTEE’S OBJECTION TO CONFIRMATION
                      AND MOTION TO DISMISS CASE

       COMES NOW, Nancy J. Whaley, the Standing Chapter 13 Trustee herein, and
objects to Confirmation of the plan for the following reasons:

                                             1.

       The Debtor’s Chapter 13 plan fails to correctly complete the check boxes required
by sections 1.3. Any provisions in correlating sections are ineffective and the Chapter 13
Trustee cannot administer the plan as filed. Additionally, failure to complete the correct
check boxes may not provide proper service of the plan on affected parties.

                                             2.

      The plan as proposed will extend to sixty-four (64) months, which exceeds the sixty
(60) months allowed by 11 U.S.C. Section 1322(d).

                                             3.

       The Debtor has failed to provide to the Trustee a copy of the 2017 tax return filed
with Internal Revenue Service in violation of 11 U.S.C. Section 521(e)(2)(A).

                                             4.

      Question #18 of Debtor’s Statement of Financial Affairs is inaccurate and/or
incomplete in violation of 11 U.S.C. Section 521(a)(1) and Bankruptcy Rule 1007(b)(1).

                                             5.

       The Chapter 13 plan proposes to pay $5,600.00 to the Debtor’s attorney for
payment of attorney fees. The Trustee is unable to determine whether this is a reasonable
fee and requests that Debtor's counsel appear at Confirmation and be prepared to present
evidence to the Court regarding the reasonableness of the requested fee.
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      WHEREFORE, the Trustee moves the Court to inquire into the above objections,
deny Confirmation of the Debtor’s plan, and to dismiss the case.

This the 10th day of October, 2018.
                                      Respectfully submitted,

                                      /s/__________________________________
                                      Eric W. Roach
                                      Attorney for the Chapter 13 Trustee
                                      State Bar No. 143194
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                             CERTIFICATE OF SERVICE


Case No: A18-64324-JWC

This is to certify that I have this day served the following with a copy of the foregoing
Chapter 13 Trustee's Objection To Confirmation And Motion To Dismiss Case by
depositing in the United States mail a copy of same in a properly addressed envelope with
adequate postage thereon.


Debtor(s)
DENISE ELAINE MALCOLM
4299 PLEASANT LAKE VILLAGE LANE
APT. B
DULUTH, GA 30096



By Consent of the parties, the following have received an electronic copy of the
foregoing Chapter 13 Trustee's Objection To Confirmation And Motion To Dismiss Case
through the Court's Electronic Case Filing system.

Debtor(s) Attorney:
SLIPAKOFF & SLOMKA, PC
se@myatllaw.com




This the 10th day of October, 2018.


/s/__________________________________
Eric W. Roach
Attorney for the Chapter 13 Trustee
State Bar No. 143194
303 Peachtree Center Avenue, NE
Suite 120
Atlanta, GA 30303
